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                  IN THE UNITED STATES DISTRICT COURT
               FOR THE EASTERN DISTRICT OF PENNSYLVANIA

WILLIAM SCHLAGNAUFER              :   CIVIL ACTION
                                  :
          v.                      :
                                  :
THOMAS JEFFERSON UNIVERSITY       :   NO. 21-2366

                              ORDER

          AND NOW, this    13th   day of June, 2022, it having been

reported to the court that the issues between the plaintiff and

defendant have been settled and pursuant to the provisions of

Rule 41.1(b) of the Local Rules of Civil Procedure of this

Court, it is hereby ORDERED that this action is DISMISSED with

prejudice without costs.


                                            BY THE COURT:



                                            /s/ Harvey Bartle III
                                                                J.
